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Client                                      Service
3D Printing Manufacturer                    Incident Response
Aerospace Company                           Investigation/Litigation
Aerospace Company                           Investigation/Litigation
Aerospace Company                           Readiness
AI Customer Engagement Solutions Company    Investigation/Litigation
AI Customer Engagement Solutions Company    Incident Response
Aluminum and Industrial Equipment           Investigation/Litigation
American Television Station                 Incident Response
American University                         Incident Response
American University                         Incident Response
Asset Mangement Firm                        Readiness
Asset Mangement Firm                        Readiness
Asset Mangement Firm                        Investigation/Litigation
Automobile Manufacturer                     Incident Response
Automotive Parts Company                    Readiness
Automotive Parts Distributor                Investigation/Litigation
Automotive Parts Manufacturer               Investigation/Litigation
Benchmarking Services                       Incident Response
Biotechnology Company                       Investigation/Litigation
City Government                             Incident Response
Communications and Public Affairs           Incident Response
Company License Issuer                      Readiness
Confidential Matter                         Incident Response/Investigation
Confidential Matter                         Incident Response/Investigation
Confidential Matter                         Incident Response/Investigation
Confidential Matter                         Incident Response/Investigation
Confidential Matter                         Incident Response/Investigation
Confidential Matter                         Incident Response/Investigation
Confidential Matter                         Incident Response/Investigation
Confidential Matter                         Incident Response/Investigation
Confidential Matter                         Incident Response/Investigation
Confidential Matter                         Incident Response/Investigation
Confidential Matter                         Incident Response/Investigation
Consulting Firm                             Incident Response
Credit Reporting Agency                     Readiness
Cybersecurity Solutions                     Readiness
Data Privacy Company                        Investigation/Litigation
Digital Healthcare Platform Company         Investigation/Litigation
Digital Marketing Company                   Investigation/Litigation
Digital Payment                             Investigation/Litigation
Education Publishing Company                Investigation/Litigation
Employment Services                         Investigation
Employment Services                         Incident Response
Employment Services                         Readiness
Employment Services                         Readiness
Employment Services                         Readiness

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Client                                      Service
Employment Services                         Investigation/Litigation
Energy Company                              Readiness
Financial Services                          Readiness
Financial Services                          Readiness
Financial Services                          Readiness
Financial Technology                        Investigation/Litigation
Global Agricultre Company                   Incident Response
Global Consulting Firm                      Investigation/Litigation
Global Consulting Firm                      Investigation/Litigation
Global Consulting Firm                      Investigation/Litigation
Global Consulting Firm                      Readiness
Global Consulting Firm                      Incident Response
Global Energy Company                       Incident Response/Investigation
Global Energy Trading Company               Investigation
Global Entertainment Company                Investigation/Litigation
Global Payment Card Service Company         Investigation/Litigation
Global Payment Card Service Company         Investigation/Litigation
Global Payment Card Service Company         Investigation
Global Professional Services Firm           Incident Response
Global Retail Company                       Incident Response
Global Software Company                     Investigation/Litigation
Global Technology Company                   Readiness
Global Technology Company                   Investigation/Litigation
Global Technology Company                   Investigation/Litigation
Global Technology Company                   Investigation/Litigation
Global Technology Company                   Incident Response
Global Technology Company                   Investigation/Litigation
Global Technology Company                   Investigation/Litigation
Global Technology Company                   Investigation
Global Technology Company                   Investigation/Litigation
Global Technology Company                   Investigation/Litigation
Global Transportation Company               Investigation/Litigation
Grocery Store Operator                      Incident Response
Grocery Store Operator                      Incident Response
Grocery Store Operator                      Incident Response
Health Information Company                  Investigation
Healthcare Company                          Investigation/Litigation
Healthcare Company                          Investigation/Litigation
Healthcare Company                          Investigation/Litigation
Healthcare Company                          Investigation/Litigation
Healthcare Company                          Incident Response
Healthcare Company                          Incident Response
Healthcare Company                          Readiness
Healthcare Company                          Investigation/Litigation
High Net Worth Individual                   Investigation/Litigation
High Net Worth Individual                   Investigation/Litigation

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Client                                         Service
High Net Worth Individual                      Investigation/Litigation
High Net Worth Individual                      Investigation
Human Service Nonprofit                        Incident Response
Information Services Company                   Investigation/Litigation
Infrastructure Consulting Firm                 Investigation/Litigation
Insurance                                      Incident Response/Investigation
Insurance Company                              Investigation/Litigation
Insurance Company                              Incident Response
Interior Building Products Distributor         Investigation/Litigation
International Government                       Investigation/Litigation
Internet Technology Company                    Readiness
Investment Mangement Firm                      Investigation/Litigation
Investment Mangement Firm                      Investigation/Litigation
Investment Mangement Firm                      Incident Response
Investment Mangement Firm                      Readiness
Investment Mangement Firm                      Investigation
Investment Mangement Firm                      Incident Response
Investment Mangement Firm                      Readiness
Law Firm                                       Investigation/Litigation
Law Firm                                       Investigation/Litigation
Law Firm                                       Readiness
Law Firm                                       Readiness
Law Firm                                       Incident Response
Law Firm                                       Investigation/Litigation
Law Firm                                       Incident Response
Lighting Product Distributor                   Investigation
Loan Manager                                   Incident Response
Management Consulting                          Incident Response/Investigation
Manufacturing                                  Incident Response/Investigation
Media Company                                  Readiness
Media Company                                  Incident Response
Media Company                                  Readiness
Media Company                                  Investigation/Litigation
Medical Treatment Company                      Investigation/Litigation
Multinational Conglomerate                     Investigation/Litigation
Multinational Conglomerate                     Readiness
Multinational Insurance Agency                 Investigation/Litigation
Multi-service Law Firm                         Investigation/Litigation
Online Datin Service                           Investigation
Online Retailer                                Readiness
Pharmaceuticals Company                        Investigation/Litigation
Philanthropy                                   Investigation/Litigation
Power Tool Supplier                            Incident Response
Private Bank                                   Investigation/Litigation
Private Bank                                   Incident Response
Private Equity                                 Readiness

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Client                                  Service
Private Equity Investement Firm         Incident Response
Private Equity Investement Firm         Readiness
Production Company                      Incident Response
Professional Services Firm              Incident Response
Radiation Protection Services           Incident Response
Real Estate Company                     Incident Response
Robotics                                Readiness
Satellite Communication Company         Investigation/Litigation
Security Devices                        Investigation/Litigation
Security Services Firm                  Incident Response
Security Services Firm                  Incident Response
Seminary                                Incident Response
Software Company                        Investigation/Litigation
Software Company                        Investigation/Litigation
Software Company                        Incident Response
Software Company                        Incident Response
Software Company                        Incident Response
South American Mining Company           Incident Response
Tax Consulting Company                  Readiness
Technical Research                      Investigation
Technology                              Incident Response/Investigation
Telecom Company                         Investigation/Litigation
Textile Company                         Incident Response
Tool Manufacturing Company              Incident Response/Investigation
Transportation Company                  Investigation/Litigation
University Healthcare System            Readiness
Video Communication Company             Security Assessment
Video Survelliance                      Readiness




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                  EXHIBIT C
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Matter #           Staff - Aggregated                                                            David Youssef   Matt McManus Gabe Nobles     Matteson Williams   George Arden   Jared Best   Industry                                         Service Offering
Matter 0001        George Arden                                                                                                                                   George Arden                Professional Services                            Investigation
Matter 0002        David Youssef,George Arden                                                    David Youssef                                                    George Arden                Technology Hardware & Equipment                  Readiness
Matter 0003        George Arden                                                                                                                                   George Arden                Software & Services                              Readiness
Matter 0004        George Arden                                                                                                                                   George Arden                Consumer Services                                Readiness
Matter 0005        George Arden                                                                                                                                   George Arden                Transportation                                   Readiness
Matter 0006        George Arden                                                                                                                                   George Arden                Technology Hardware & Equipment                  Investigation
Matter 0007        David Youssef,Matteson Williams,George Arden,Jared Best                       David Youssef                                Matteson Williams   George Arden   Jared Best   Commercial & Professional Services               Investigation
Matter 0008        George Arden,Jared Best                                                                                                                        George Arden   Jared Best   Commercial & Professional Services               Incident Response
Matter 0009        David Youssef,Matteson Williams,George Arden,Jared Best                       David Youssef                                Matteson Williams   George Arden   Jared Best   Media & Entertainment                            Incident Response
Matter 0010        George Arden,Jared Best                                                                                                                        George Arden   Jared Best   Software & Services                              Incident Response
Matter 0011        David Youssef,George Arden,Jared Best                                         David Youssef                                                    George Arden   Jared Best   Technology Hardware & Equipment                  Incident Response
                                                                                                                                                                                              Executive, Legislative, and Other General
Matter 0012        David Youssef,George Arden                                                    David Youssef                                                    George Arden                Government Support                               Incident Response
Matter 0013        David Youssef,Gabe Nobles,George Arden,Jared Best                             David Youssef                  Gabe Nobles                       George Arden   Jared Best   Financial Services                               Incident Response
Matter 0014        George Arden                                                                                                                                   George Arden                Consumer Services                                Investigation/Litigation
                   David Youssef,Matt McManus,Gabe Nobles,Matteson Williams,George
Matter 0015        Arden,Jared Best                                                              David Youssef   Matt McManus   Gabe Nobles   Matteson Williams   George Arden   Jared Best   Financial Services                               Incident Response
Matter 0016        David Youssef,George Arden,Jared Best                                         David Youssef                                                    George Arden   Jared Best   Banks                                            Incident Response
Matter 0017        David Youssef,George Arden,Jared Best                                         David Youssef                                                    George Arden   Jared Best   Commercial & Professional Services               Incident Response

Matter 0018        George Arden,Jared Best                                                                                                                        George Arden   Jared Best   Pharmaceuticals, Biotechnology & Life Sciences   Incident Response
Matter 0019        George Arden                                                                                                                                   George Arden                Financial Services                               Readiness
Matter 0020        David Youssef,Matt McManus,Matteson Williams,George Arden,Jared Best          David Youssef   Matt McManus                 Matteson Williams   George Arden   Jared Best   Capital Goods                                    Incident Response

Matter 0021        David Youssef,George Arden                                                    David Youssef                                                    George Arden                Pharmaceuticals, Biotechnology & Life Sciences   Investigation
Matter 0022        George Arden                                                                                                                                   George Arden                Commercial & Professional Services               Incident Response
Matter 0023        George Arden,Jared Best                                                                                                                        George Arden   Jared Best   National Security and International Affairs      Incident Response
Matter 0024        Matt McManus,George Arden,Jared Best                                                          Matt McManus                                     George Arden   Jared Best   Consumer Services                                Incident Response
Matter 0025        George Arden                                                                                                                                   George Arden                Consumer Services                                Investigation/Litigation
Matter 0026        George Arden                                                                                                                                   George Arden                Health Care Equipment & Services                 Readiness

Matter 0027        George Arden,Jared Best                                                                                                                        George Arden   Jared Best   Pharmaceuticals, Biotechnology & Life Sciences   Incident Response
Matter 0028        David Youssef,Matteson Williams,George Arden,Jared Best                       David Youssef                                Matteson Williams   George Arden   Jared Best   Software & Services                              Incident Response
Matter 0029        George Arden                                                                                                                                   George Arden                Consumer Services                                Investigation/Litigation

Matter 0030        George Arden                                                                                                                                   George Arden                Pharmaceuticals, Biotechnology & Life Sciences   Investigation/Litigation
Matter 0031        George Arden                                                                                                                                   George Arden                Media & Entertainment                            Investigation/Litigation
Matter 0032        David Youssef,George Arden,Jared Best                                         David Youssef                                                    George Arden   Jared Best   Transportation                                   Incident Response
Matter 0033        George Arden                                                                                                                                   George Arden                Health Care Equipment & Services                 Incident Response
Matter 0034        George Arden                                                                                                                                   George Arden                Professional Services                            Investigation
Matter 0035        George Arden,Jared Best                                                                                                                        George Arden   Jared Best   Consumer Staples Distribution & Retail           Incident Response
Matter 0036        George Arden                                                                                                                                   George Arden                Capital Goods                                    Investigation
Matter 0037        David Youssef,George Arden,Jared Best                                         David Youssef                                                    George Arden   Jared Best   Consumer Services                                Incident Response
Matter 0038        David Youssef,Gabe Nobles,Matteson Williams                                   David Youssef                  Gabe Nobles   Matteson Williams                               Commercial & Professional Services               Investigation/Litigation
Matter 0039        David Youssef,Gabe Nobles,Matteson Williams                                   David Youssef                  Gabe Nobles   Matteson Williams                               Commercial & Professional Services               Investigation/Litigation
Matter 0040        Matt McManus,Gabe Nobles,Matteson Williams                                                    Matt McManus   Gabe Nobles   Matteson Williams                               Software & Services                              Readiness
Matter 0041        Matteson Williams                                                                                                          Matteson Williams                               Commercial & Professional Services               Investigation/Litigation
Matter 0042        Matteson Williams                                                                                                          Matteson Williams                               Health Care Equipment & Services                 Investigation/Litigation
Matter 0043        Matteson Williams                                                                                                          Matteson Williams                               Consumer Services                                Investigation/Litigation
Matter 0044        Matteson Williams                                                                                                          Matteson Williams                               Financial Services                               Investigation/Litigation
Matter 0045        Matteson Williams,Jared Best                                                                                               Matteson Williams                  Jared Best   Commercial & Professional Services               Investigation/Litigation
Matter 0046        David Youssef,Gabe Nobles,Matteson Williams                                   David Youssef                  Gabe Nobles   Matteson Williams                               Consumer Services                                Investigation/Litigation
Matter 0047        David Youssef,Matteson Williams                                               David Youssef                                Matteson Williams                               Consumer Services                                Investigation/Litigation
Matter 0048        Matteson Williams                                                                                                          Matteson Williams                               Financial Services                               Readiness
Matter 0049        Matteson Williams                                                                                                          Matteson Williams                               Software & Services                              Readiness
Matter 0050        Gabe Nobles,Matteson Williams                                                                                Gabe Nobles   Matteson Williams                               Software & Services                              Readiness
Matter 0051        Matt McManus,Gabe Nobles,Matteson Williams                                                    Matt McManus   Gabe Nobles   Matteson Williams                               Software & Services                              Readiness
Matter 0052        David Youssef,Matteson Williams,Jared Best                                    David Youssef                                Matteson Williams                  Jared Best   Commercial & Professional Services               Investigation/Litigation
Matter 0053        Matt McManus,Matteson Williams                                                                Matt McManus                 Matteson Williams                               Transportation                                   Investigation
Matter 0054        Matteson Williams                                                                                                          Matteson Williams                               Financial Services                               Readiness
Matter 0055        Matteson Williams                                                                                                          Matteson Williams                               Software & Services                              Readiness
Matter 0056        Matteson Williams                                                                                                          Matteson Williams                               Health Care Equipment & Services                 Readiness
Matter 0057        David Youssef,Matteson Williams,Jared Best                                    David Youssef                                Matteson Williams                  Jared Best   Health Care Equipment & Services                 Investigation/Litigation
Matter 0058        Matteson Williams                                                                                                          Matteson Williams                               Transportation                                   Incident Response
Matter 0059        Matteson Williams                                                                                                          Matteson Williams                               Financial Services                               Readiness
Matter 0060        Matteson Williams                                                                                                          Matteson Williams                               Non-Profit                                       Readiness

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Matter #           Staff - Aggregated                                                            David Youssef   Matt McManus Gabe Nobles     Matteson Williams   George Arden   Jared Best   Industry                                         Service Offering
Matter 0061        Matt McManus,Matteson Williams                                                                Matt McManus                 Matteson Williams                               Retailing                                        Readiness
Matter 0062        Matteson Williams                                                                                                          Matteson Williams                               Consumer Services                                Investigation/Litigation
Matter 0063        Gabe Nobles,Matteson Williams                                                                                Gabe Nobles   Matteson Williams                               Financial Services                               Readiness
Matter 0064        Matteson Williams                                                                                                          Matteson Williams                               Health Care Equipment & Services                 Investigation/Litigation
Matter 0065        Matteson Williams                                                                                                          Matteson Williams                               Financial Services                               Readiness
Matter 0066        Matteson Williams                                                                                                          Matteson Williams                               Professional Services                            Readiness
Matter 0067        Matteson Williams                                                                                                          Matteson Williams                               Technology Hardware & Equipment                  Readiness
Matter 0068        David Youssef,Matteson Williams,Jared Best                                    David Youssef                                Matteson Williams                  Jared Best   Software & Services                              Investigation/Litigation
Matter 0069        David Youssef,Matteson Williams,Jared Best                                    David Youssef                                Matteson Williams                  Jared Best   Insurance                                        Investigation/Litigation
Matter 0070        Matteson Williams                                                                                                          Matteson Williams                               Software & Services                              Incident Response
Matter 0071        David Youssef,Jared Best                                                      David Youssef                                                                   Jared Best   Software & Services                              Incident Response
Matter 0072        Jared Best                                                                                                                                                    Jared Best   Utilities                                        Incident Response
Matter 0073        Jared Best                                                                                                                                                    Jared Best   Professional Services                            Incident Response
Matter 0074        Jared Best                                                                                                                                                    Jared Best   Municipality                                     Incident Response
Matter 0075        David Youssef,Matt McManus,Jared Best                                         David Youssef   Matt McManus                                                    Jared Best   Software & Services                              Incident Response
Matter 0076        Jared Best                                                                                                                                                    Jared Best   Energy                                           Incident Response
Matter 0077        Jared Best                                                                                                                                                    Jared Best   Professional Services                            Incident Response
Matter 0078        Jared Best                                                                                                                                                    Jared Best   Diversified Financials                           Incident Response
Matter 0079        Jared Best                                                                                                                                                    Jared Best   Commercial & Professional Services               Incident Response
Matter 0080        Matt McManus,Gabe Nobles,Jared Best                                                           Matt McManus   Gabe Nobles                                      Jared Best   Media & Entertainment                            Readiness
Matter 0081        David Youssef,Jared Best                                                      David Youssef                                                                   Jared Best   Software & Services                              Incident Response
Matter 0082        Jared Best                                                                                                                                                    Jared Best   Transportation                                   Incident Response
Matter 0083        David Youssef,Matt McManus,Jared Best                                         David Youssef   Matt McManus                                                    Jared Best   Capital Goods                                    Incident Response
Matter 0084        Jared Best                                                                                                                                                    Jared Best   Professional Services                            Incident Response
Matter 0085        Jared Best                                                                                                                                                    Jared Best   Software & Services                              Incident Response
Matter 0086        Jared Best                                                                                                                                                    Jared Best   Commercial & Professional Services               Incident Response
Matter 0087        Jared Best                                                                                                                                                    Jared Best   Commercial & Professional Services               Incident Response
Matter 0088        Jared Best                                                                                                                                                    Jared Best   Private Equity                                   Incident Response
Matter 0089        Jared Best                                                                                                                                                    Jared Best   Consumer Services                                Incident Response
Matter 0090        Jared Best                                                                                                                                                    Jared Best   Commercial & Professional Services               Incident Response
Matter 0091        Jared Best                                                                                                                                                    Jared Best   Transportation                                   Incident Response
Matter 0092        David Youssef,Jared Best                                                      David Youssef                                                                   Jared Best   Commercial & Professional Services               Incident Response
Matter 0093        Jared Best                                                                                                                                                    Jared Best   Commercial & Professional Services               Incident Response
Matter 0094        Jared Best                                                                                                                                                    Jared Best   Energy                                           Incident Response
Matter 0095        Jared Best                                                                                                                                                    Jared Best   Consumer Services                                Incident Response
Matter 0096        Jared Best                                                                                                                                                    Jared Best   Energy                                           Incident Response
Matter 0097        Jared Best                                                                                                                                                    Jared Best   Commercial & Professional Services               Incident Response
Matter 0098        David Youssef,Jared Best                                                      David Youssef                                                                   Jared Best   Consumer Services                                Incident Response
Matter 0099        Jared Best                                                                                                                                                    Jared Best   Energy                                           Incident Response
Matter 0100        Jared Best                                                                                                                                                    Jared Best   Commercial & Professional Services               Incident Response
Matter 0101        Jared Best                                                                                                                                                    Jared Best   Private Equity                                   Incident Response
Matter 0102        Jared Best                                                                                                                                                    Jared Best   Health Care Equipment & Services                 Incident Response
Matter 0103        David Youssef,Matt McManus,Jared Best                                         David Youssef   Matt McManus                                                    Jared Best   Commercial & Professional Services               Incident Response
Matter 0104        Matt McManus,Jared Best                                                                       Matt McManus                                                    Jared Best   Health Care Equipment & Services                 Incident Response
Matter 0105        David Youssef,Matt McManus,Gabe Nobles,Jared Best                             David Youssef   Matt McManus   Gabe Nobles                                      Jared Best   Consumer Services                                Investigation
Matter 0106        David Youssef,Jared Best                                                      David Youssef                                                                   Jared Best   Health Care Equipment & Services                 Incident Response
Matter 0107        Jared Best                                                                                                                                                    Jared Best   Utilities                                        Incident Response
Matter 0108        Matt McManus,Jared Best                                                                       Matt McManus                                                    Jared Best   Commercial & Professional Services               Incident Response

Matter 0109        David Youssef,Jared Best                                                      David Youssef                                                                   Jared Best   Pharmaceuticals, Biotechnology & Life Sciences   Incident Response
Matter 0110        Jared Best                                                                                                                                                    Jared Best   Utilities                                        Incident Response
Matter 0111        Jared Best                                                                                                                                                    Jared Best   Health Care Equipment & Services                 Incident Response
Matter 0112        Jared Best                                                                                                                                                    Jared Best   Consumer Services                                Incident Response
Matter 0113        David Youssef,Jared Best                                                      David Youssef                                                                   Jared Best   Professional Services                            Incident Response
Matter 0114        Jared Best                                                                                                                                                    Jared Best   Software & Services                              Incident Response
Matter 0115        David Youssef,Jared Best                                                      David Youssef                                                                   Jared Best   Commercial & Professional Services               Incident Response
Matter 0116        David Youssef,Jared Best                                                      David Youssef                                                                   Jared Best   Commercial & Professional Services               Incident Response
Matter 0117        David Youssef,Jared Best                                                      David Youssef                                                                   Jared Best   Commercial & Professional Services               Incident Response
                                                                                                                                                                                              Executive, Legislative, and Other General
Matter 0118        David Youssef,Jared Best                                                      David Youssef                                                                   Jared Best   Government Support                               Incident Response
Matter 0119        Jared Best                                                                                                                                                    Jared Best   Consumer Services                                Incident Response
Matter 0120        Jared Best                                                                                                                                                    Jared Best   Consumer Services                                Incident Response
Matter 0121        David Youssef,Jared Best                                                      David Youssef                                                                   Jared Best   Consumer Services                                Incident Response
Matter 0122        David Youssef,Jared Best                                                      David Youssef                                                                   Jared Best   Consumer Services                                Incident Response
Matter 0123        David Youssef,Jared Best                                                      David Youssef                                                                   Jared Best   Commercial & Professional Services               Incident Response
Matter 0124        Jared Best                                                                                                                                                    Jared Best   Health Care Equipment & Services                 Incident Response

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Matter #           Staff - Aggregated                                                            David Youssef   Matt McManus Gabe Nobles     Matteson Williams   George Arden   Jared Best   Industry                                         Service Offering
Matter 0125        David Youssef,Jared Best                                                      David Youssef                                                                   Jared Best   Health Care Equipment & Services                 Incident Response
Matter 0126        Jared Best                                                                                                                                                    Jared Best   Consumer Services                                Incident Response
Matter 0127        Jared Best                                                                                                                                                    Jared Best   Financial Services                               Incident Response

Matter 0128        Jared Best                                                                                                                                                    Jared Best   Pharmaceuticals, Biotechnology & Life Sciences   Incident Response
Matter 0129        Jared Best                                                                                                                                                    Jared Best   Consumer Services                                Incident Response
Matter 0130        Matt McManus,Jared Best                                                                       Matt McManus                                                    Jared Best   Financial Services                               Incident Response
Matter 0131        Matt McManus,Jared Best                                                                       Matt McManus                                                    Jared Best   Financial Services                               Incident Response
Matter 0132        Matt McManus,Jared Best                                                                       Matt McManus                                                    Jared Best   Media & Entertainment                            Incident Response
Matter 0133        David Youssef,Gabe Nobles,Jared Best                                          David Youssef                  Gabe Nobles                                      Jared Best   Commercial & Professional Services               Investigation/Litigation
Matter 0134        David Youssef                                                                 David Youssef                                                                                High Net Worth Individual                        Investigation/Litigation
Matter 0135        David Youssef,Matt McManus                                                    David Youssef   Matt McManus                                                                 Global Technology Company                        Incident Response
Matter 0136        David Youssef                                                                 David Youssef                                                                                Professional Services Firm                       Investigation/Litigation
Matter 0137        David Youssef                                                                 David Youssef                                                                                Financial Technology                             Investigation/Litigation
Matter 0138        David Youssef                                                                 David Youssef                                                                                Digital Healthcare Platform Company              Investigation/Litigation
Matter 0139        David Youssef                                                                 David Youssef                                                                                High Net Worth Individual                        Investigation/Litigation
Matter 0140        David Youssef,Matteson Williams,Jared Best                                    David Youssef                                Matteson Williams                  Jared Best   Healthcare Company                               Investigation/Litigation
Matter 0141        David Youssef,Matteson Williams,George Arden,Jared Best                       David Youssef                                Matteson Williams   George Arden   Jared Best   Global Technology Company                        Investigation/Litigation
Matter 0142        David Youssef                                                                 David Youssef                                                                                Automotive Parts Distributor                     Investigation/Litigation
Matter 0143        David Youssef                                                                 David Youssef                                                                                Investment Mangement Firm                        Investigation/Litigation
Matter 0144        David Youssef                                                                 David Youssef                                                                                Multi-service Law Firm                           Investigation/Litigation
Matter 0145        David Youssef,George Arden,Jared Best                                         David Youssef                                                    George Arden   Jared Best   Multinational Insurance Agency                   Investigation/Litigation
Matter 0146        David Youssef                                                                 David Youssef                                                                                Global Entertainment Company                     Investigation/Litigation
Matter 0147        David Youssef                                                                 David Youssef                                                                                High Net Worth Individual                        Investigation/Litigation
Matter 0148        David Youssef                                                                 David Youssef                                                                                Global Technology Company                        Investigation/Litigation
Matter 0149        David Youssef                                                                 David Youssef                                                                                AI Customer Engagement Solutions Company         Investigation/Litigation
Matter 0150        David Youssef                                                                 David Youssef                                                                                Aerospace Company                                Investigation/Litigation
Matter 0151        David Youssef                                                                 David Youssef                                                                                Automotive Parts Manufacturer                    Investigation/Litigation
Matter 0152        David Youssef                                                                 David Youssef                                                                                Transportation Company                           Investigation/Litigation
Matter 0153        David Youssef                                                                 David Youssef                                                                                Healthcare Company                               Investigation/Litigation
Matter 0154        David Youssef                                                                 David Youssef                                                                                Global Payment Card Service Company              Investigation/Litigation
Matter 0155        David Youssef                                                                 David Youssef                                                                                Infrastructure Consulting Firm                   Investigation/Litigation
Matter 0156        David Youssef                                                                 David Youssef                                                                                Investment Mangement Firm                        Investigation
Matter 0157        David Youssef                                                                 David Youssef                                                                                Insurance Company                                Investigation/Litigation
Matter 0158        David Youssef                                                                 David Youssef                                                                                Pharmaceuticals Company                          Readiness
Matter 0159        David Youssef,Gabe Nobles                                                     David Youssef                  Gabe Nobles                                                   Data Privacy Company                             Investigation/Litigation
Matter 0160        David Youssef                                                                 David Youssef                                                                                Law Firm                                         Investigation/Litigation
Matter 0161        David Youssef                                                                 David Youssef                                                                                Software Company                                 Investigation
Matter 0162        David Youssef                                                                 David Youssef                                                                                Global Consulting Firm                           Investigation
Matter 0163        David Youssef                                                                 David Youssef                                                                                Telecom Company                                  Investigation
Matter 0164        David Youssef                                                                 David Youssef                                                                                Healthcare Company                               Investigation
Matter 0165        David Youssef                                                                 David Youssef                                                                                Healthcare Company                               Investigation
Matter 0166        David Youssef                                                                 David Youssef                                                                                Online Datin Service                             Investigation
Matter 0167        David Youssef                                                                 David Youssef                                                                                Information Services Company                     Investigation
Matter 0168        David Youssef                                                                 David Youssef                                                                                Global Energy Company                            Investigation
Matter 0169        David Youssef                                                                 David Youssef                                                                                Global Technology Company                        Readiness
Matter 0170        David Youssef                                                                 David Youssef                                                                                Interior Building Products Distributor           Investigation
Matter 0171        David Youssef                                                                 David Youssef                                                                                Miscellaneous                                    Investigation
Matter 0172        David Youssef                                                                 David Youssef                                                                                Miscellaneous                                    Investigation
Matter 0173        David Youssef                                                                 David Youssef                                                                                Employment Services                              Investigation
Matter 0174        David Youssef                                                                 David Youssef                                                                                Lighting Product Distributor                     Investigation
Matter 0175        David Youssef                                                                 David Youssef                                                                                Tool Manufacturing Company                       Investigation
Matter 0176        David Youssef                                                                 David Youssef                                                                                Professional Services                            Investigation/Litigation
Matter 0177        David Youssef                                                                 David Youssef                                                                                Manufacturing                                    Investigation
Matter 0178        David Youssef                                                                 David Youssef                                                                                Educational Services                             Investigation/Litigation
Matter 0179        David Youssef                                                                 David Youssef                                                                                Media Company                                    Incident Response
Matter 0180        David Youssef                                                                 David Youssef                                                                                High Net Worth Individual                        Readiness
Matter 0181        David Youssef                                                                 David Youssef                                                                                Professional Services                            Incident Response
Matter 0182        David Youssef                                                                 David Youssef                                                                                Healthcare Company                               Incident Response
Matter 0183        David Youssef                                                                 David Youssef                                                                                Global Energy Trading Company                    Incident Response
Matter 0184        David Youssef                                                                 David Youssef                                                                                Professional Services                            Readiness
Matter 0185        David Youssef                                                                 David Youssef                                                                                Grocery Store Operator                           Incident Response
Matter 0186        David Youssef                                                                 David Youssef                                                                                Global Consulting Firm                           Incident Response
Matter 0187        David Youssef                                                                 David Youssef                                                                                Financial Services                               Incident Response
Matter 0188        David Youssef                                                                 David Youssef                                                                                Law Firm                                         Investigation
Matter 0189        David Youssef,Matt McManus                                                    David Youssef   Matt McManus                                                                 Global Consulting Firm                           Readiness

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Matter #           Staff - Aggregated                                                            David Youssef   Matt McManus Gabe Nobles     Matteson Williams   George Arden   Jared Best   Industry                                   Service Offering
Matter 0190        David Youssef                                                                 David Youssef                                                                                Education Publishing Company               Readiness
Matter 0191        David Youssef,Matt McManus,Gabe Nobles                                        David Youssef   Matt McManus   Gabe Nobles                                                   Global Technology Company                  Security Assessment
Matter 0192        David Youssef,Gabe Nobles                                                     David Youssef                  Gabe Nobles                                                   Employment Services                        Incident Response
Matter 0193        David Youssef                                                                 David Youssef                                                                                Global Software Company                    Investigation
Matter 0194        David Youssef                                                                 David Youssef                                                                                Global Technology Company                  Investigation
Matter 0195        David Youssef                                                                 David Youssef                                                                                3D Printing Manufacturer                   Investigation
Matter 0196        David Youssef                                                                 David Youssef                                                                                Asset Mangement Firm                       Incident Response
Matter 0197        David Youssef                                                                 David Youssef                                                                                Asset Mangement Firm                       Incident Response
Matter 0198        David Youssef                                                                 David Youssef                                                                                Seminary                                   Incident Response
Matter 0199        David Youssef                                                                 David Youssef                                                                                Investment Mangement Firm                  Incident Response
Matter 0200        David Youssef                                                                 David Youssef                                                                                Security Services Firm                     Incident Response
Matter 0201        David Youssef                                                                 David Youssef                                                                                Law Firm                                   Incident Response
Matter 0202        David Youssef                                                                 David Youssef                                                                                Healthcare Company                         Incident Response
Matter 0203        David Youssef                                                                 David Youssef                                                                                Law Firm                                   Incident Response
Matter 0204        David Youssef                                                                 David Youssef                                                                                Production Company                         Readiness
Matter 0205        David Youssef                                                                 David Youssef                                                                                Global Consulting Firm                     Investigation/Litigation
Matter 0206        David Youssef                                                                 David Youssef                                                                                Grocery Store Operator                     Investigation/Litigation
Matter 0207        David Youssef,Gabe Nobles                                                     David Youssef                  Gabe Nobles                                                   Global Consulting Firm                     Investigation
Matter 0208        David Youssef,Matt McManus                                                    David Youssef   Matt McManus                                                                 Real Estate Company                        Investigation/Litigation
Matter 0209        David Youssef                                                                 David Youssef                                                                                City Government                            Investigation/Litigation
Matter 0210        David Youssef                                                                 David Youssef                                                                                Food Distributor                           Incident Response
Matter 0211        David Youssef,Matt McManus,Gabe Nobles                                        David Youssef   Matt McManus   Gabe Nobles                                                   Tax Consulting Company                     Readiness
Matter 0212        David Youssef,Matt McManus                                                    David Youssef   Matt McManus                                                                 Investment Mangement Firm                  Readiness
Matter 0213        David Youssef,Matt McManus                                                    David Youssef   Matt McManus                                                                 Video Communication Company                Investigation/Litigation
Matter 0214        David Youssef                                                                 David Youssef                                                                                Healthcare Company                         Investigation/Litigation
Matter 0215        David Youssef                                                                 David Youssef                                                                                Health Information Company                 Investigation/Litigation
Matter 0216        David Youssef                                                                 David Youssef                                                                                Technical Research                         Readiness
Matter 0217        David Youssef                                                                 David Youssef                                                                                Investment Mangement Firm                  Incident Response
Matter 0218        David Youssef                                                                 David Youssef                                                                                Power Tool Supplier                        Incident Response
Matter 0219        David Youssef                                                                 David Youssef                                                                                Investment Mangement Firm                  Investigation
Matter 0220        David Youssef                                                                 David Youssef                                                                                Miscellaneous                              Investigation
Matter 0221        David Youssef                                                                 David Youssef                                                                                American University                        Incident Response
Matter 0222        David Youssef                                                                 David Youssef                                                                                American Television Station                Investigation/Litigation
Matter 0223        David Youssef,Matt McManus,Gabe Nobles                                        David Youssef   Matt McManus   Gabe Nobles                                                   South American Mining Company              Incident Response
Matter 0224        David Youssef                                                                 David Youssef                                                                                Global Retail Company                      Investigation/Litigation
Matter 0225        David Youssef,Matt McManus                                                    David Youssef   Matt McManus                                                                 Private Equity Investement Firm            Incident Response
Matter 0226        David Youssef,Matt McManus                                                    David Youssef   Matt McManus                                                                 Internet Technology Company                Investigation/Litigation
Matter 0227        David Youssef                                                                 David Youssef                                                                                Global Transportation Company              Readiness
Matter 0228        David Youssef                                                                 David Youssef                                                                                Global Technology Company                  Readiness
Matter 0229        David Youssef                                                                 David Youssef                                                                                Global Technology Company                  Incident Response
Matter 0230        David Youssef,Matt McManus                                                    David Youssef   Matt McManus                                                                 Global Technology Company                  Readiness
Matter 0231        David Youssef                                                                 David Youssef                                                                                Global Technology Company                  Readiness
Matter 0232        David Youssef                                                                 David Youssef                                                                                Global Agricultre Company                  Investigation/Litigation
Matter 0233        David Youssef                                                                 David Youssef                                                                                Credit Reporting Agency                    Investigation/Litigation
Matter 0234        David Youssef                                                                 David Youssef                                                                                Private Equity Investement Firm            Incident Response/Investigation
Matter 0235        David Youssef                                                                 David Youssef                                                                                Private Bank                               Readiness
Matter 0236        David Youssef                                                                 David Youssef                                                                                Philanthropy                               Incident Response
Matter 0237        David Youssef                                                                 David Youssef                                                                                Digital Marketing Company                  Investigation/Litigation
Matter 0238        David Youssef,Matt McManus,Gabe Nobles                                        David Youssef   Matt McManus   Gabe Nobles                                                   Law Firm                                   Investigation/Litigation
Matter 0239        David Youssef                                                                 David Youssef                                                                                Automotive Parts Company                   Incident Response
Matter 0240        David Youssef                                                                 David Youssef                                                                                AI Customer Engagement Solutions Company   Readiness
Matter 0241        David Youssef,Matt McManus,Gabe Nobles                                        David Youssef   Matt McManus   Gabe Nobles                                                   Media Company                              Readiness
Matter 0242        David Youssef                                                                 David Youssef                                                                                High Net Worth Individual                  Readiness
Matter 0243        David Youssef                                                                 David Youssef                                                                                Technology Hardware & Equipment            Readiness
Matter 0244        David Youssef                                                                 David Youssef                                                                                Communications and Public Affairs          Readiness
Matter 0245        David Youssef                                                                 David Youssef                                                                                Aluminum and Industrial Equipment          Readiness
Matter 0246        David Youssef                                                                 David Youssef                                                                                Grocery Store Operator                     Readiness
Matter 0247        David Youssef                                                                 David Youssef                                                                                Multinational Conglomerate                 Readiness
Matter 0248        David Youssef                                                                 David Youssef                                                                                Grocery Store Operator                     Incident Response
Matter 0249        David Youssef                                                                 David Youssef                                                                                Medical Treatment Company                  Readiness
Matter 0250        David Youssef                                                                 David Youssef                                                                                Cybersecurity Solutions                    Investigation/Litigation
Matter 0251        David Youssef,Matt McManus                                                    David Youssef   Matt McManus                                                                 Investment Mangement Firm                  Investigation/Litigation
Matter 0252        David Youssef,Gabe Nobles                                                     David Youssef                  Gabe Nobles                                                   Textile Company                            Readiness
Matter 0253        David Youssef                                                                 David Youssef                                                                                Media Company                              Readiness
Matter 0254        David Youssef                                                                 David Youssef                                                                                Employment Services                        Investigation/Litigation
Matter 0255        David Youssef                                                                 David Youssef                                                                                Law Firm                                   Investigation/Litigation

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                                                             Case 4:19-cv-07123-PJH                                Document 366-2                      Filed 08/21/24                   Page 13 of 27
Matter #           Staff - Aggregated                                                            David Youssef   Matt McManus Gabe Nobles     Matteson Williams   George Arden   Jared Best   Industry                              Service Offering
Matter 0256        David Youssef                                                                 David Youssef                                                                                Media Company                         Readiness
Matter 0257        David Youssef                                                                 David Youssef                                                                                Management Consulting                 Incident Response
Matter 0258        David Youssef                                                                 David Youssef                                                                                Healthcare Company                    Incident Response
Matter 0259        David Youssef                                                                 David Youssef                                                                                Insurance Company                     Readiness
Matter 0260        David Youssef,Matt McManus                                                    David Youssef   Matt McManus                                                                 Software Company                      Readiness
Matter 0261        Gabe Nobles                                                                                                  Gabe Nobles                                                   International Government              Investigation/Litigation
Matter 0262        Gabe Nobles                                                                                                  Gabe Nobles                                                   Global Professional Services Firm     Investigation/Litigation
Matter 0263        Matt McManus,Gabe Nobles                                                                      Matt McManus   Gabe Nobles                                                   Online Retailer                       Readiness
Matter 0264        Gabe Nobles                                                                                                  Gabe Nobles                                                   University Healthcare System          Investigation/Litigation
Matter 0265        Gabe Nobles                                                                                                  Gabe Nobles                                                   Employment Services                   Readiness
Matter 0266        Gabe Nobles                                                                                                  Gabe Nobles                                                   Robotics                              Investigation/Litigation
Matter 0267        Gabe Nobles                                                                                                  Gabe Nobles                                                   Video Survelliance                    Investigation/Litigation
Matter 0268        Matt McManus,Gabe Nobles                                                                      Matt McManus   Gabe Nobles                                                   Employment Services                   Investigation/Litigation
Matter 0269        Gabe Nobles                                                                                                  Gabe Nobles                                                   Private Equity                        Investigation/Litigation
Matter 0270        Gabe Nobles                                                                                                  Gabe Nobles                                                   American University                   Investigation/Litigation
Matter 0271        Matt McManus,Gabe Nobles                                                                      Matt McManus   Gabe Nobles                                                   Multinational Conglomerate            Readiness
Matter 0272        Gabe Nobles                                                                                                  Gabe Nobles                                                   Security Services Firm                Investigation/Litigation
Matter 0273        Gabe Nobles                                                                                                  Gabe Nobles                                                   Energy Company                        Investigation/Litigation
Matter 0274        Gabe Nobles                                                                                                  Gabe Nobles                                                   Security Devices                      Investigation/Litigation
Matter 0275        Gabe Nobles                                                                                                  Gabe Nobles                                                   Employment Services                   Investigation/Litigation
Matter 0276        Gabe Nobles                                                                                                  Gabe Nobles                                                   Financial Services                    Readiness
Matter 0277        Gabe Nobles                                                                                                  Gabe Nobles                                                   Company License Issuer                Readiness
Matter 0278        Gabe Nobles                                                                                                  Gabe Nobles                                                   Asset Mangement Firm                  Investigation/Litigation
Matter 0279        Matt McManus,Gabe Nobles                                                                      Matt McManus   Gabe Nobles                                                   Healthcare Company                    Readiness
Matter 0280        Matt McManus,Gabe Nobles                                                                      Matt McManus   Gabe Nobles                                                   Law Firm                              Readiness
Matter 0281        Gabe Nobles                                                                                                  Gabe Nobles                                                   Satellite Communication Company       Readiness
Matter 0282        Gabe Nobles                                                                                                  Gabe Nobles                                                   Financial Services                    Readiness
Matter 0283        Gabe Nobles                                                                                                  Gabe Nobles                                                   Biotechnology Company                 Readiness
Matter 0284        Gabe Nobles                                                                                                  Gabe Nobles                                                   Software Company                      Readiness
Matter 0285        Gabe Nobles                                                                                                  Gabe Nobles                                                   Software Company                      Readiness
Matter 0286        Gabe Nobles                                                                                                  Gabe Nobles                                                   Financial Services                    Readiness
Matter 0287        Matt McManus,Gabe Nobles                                                                      Matt McManus   Gabe Nobles                                                   Global Payment Card Service Company   Investigation/Litigation
Matter 0288        Matt McManus                                                                                  Matt McManus                                                                 Loan Manager                          Readiness
Matter 0289        Matt McManus                                                                                  Matt McManus                                                                 Software Company                      Investigation/Litigation
Matter 0290        Matt McManus                                                                                  Matt McManus                                                                 Radiation Protection Services         Readiness
Matter 0291        Matt McManus                                                                                  Matt McManus                                                                 Digital Payment                       Readiness
Matter 0292        Matt McManus                                                                                  Matt McManus                                                                 Aerospace Company                     Investigation/Litigation
Matter 0293        Matt McManus                                                                                  Matt McManus                                                                 Consulting Firm                       Readiness
Matter 0294        Matt McManus                                                                                  Matt McManus                                                                 Private Bank                          Readiness
Matter 0295        Matt McManus                                                                                  Matt McManus                                                                 Human Service Nonprofit               Readiness
Matter 0296        Matt McManus                                                                                  Matt McManus                                                                 Aerospace Company                     Investigation/Litigation
Matter 0297        Matt McManus                                                                                  Matt McManus                                                                 Benchmarking Services                 Investigation
Matter 0298        Matt McManus                                                                                  Matt McManus                                                                 Global Payment Card Service Company   Readiness
Matter 0299        Matt McManus                                                                                  Matt McManus                                                                 Automobile Manufacturer               Readiness
Matter 0300        Matt McManus                                                                                  Matt McManus                                                                 Technology Services Provider          Readiness
Matter 0301        Matt McManus                                                                                  Matt McManus                                                                 Media & Entertainment                 Investigation/Litigation
Matter 0302        Matt McManus                                                                                  Matt McManus                                                                 Media & Entertainment                 Readiness
Matter 0303        Matt McManus                                                                                  Matt McManus                                                                 Private Equity                        Readiness
Matter 0304        Matt McManus                                                                                  Matt McManus                                                                 Financial Services                    Readiness
Matter 0305        Matt McManus                                                                                  Matt McManus                                                                 Government Entity                     Readiness
Matter 0306        Matt McManus                                                                                  Matt McManus                                                                 Healthcare Company                    Readiness
Matter 0307        Matt McManus                                                                                  Matt McManus                                                                 Consumer Services                     Readiness
Matter 0308        Matt McManus                                                                                  Matt McManus                                                                 Commercial & Professional Services    Readiness
Matter 0309        Matt McManus                                                                                  Matt McManus                                                                 Telecommunication Services            Readiness
Matter 0310        Matt McManus                                                                                  Matt McManus                                                                 Administration of Economic Program    Investigation/Litigation
Matter 0311        Matt McManus                                                                                  Matt McManus                                                                 Technology Services Provider          Readiness
Matter 0312        Matt McManus                                                                                  Matt McManus                                                                 Private Equity                        Readiness
Matter 0313        Matt McManus                                                                                  Matt McManus                                                                 Consumer Services                     Investigation
Matter 0314        Matt McManus                                                                                  Matt McManus                                                                 Commercial & Professional Services    Readiness
Matter 0315        Matt McManus                                                                                  Matt McManus                                                                 Diversified Financials                Investigation
Matter 0316        Matt McManus                                                                                  Matt McManus                                                                 Software & Services                   Readiness
Matter 0317        Matt McManus                                                                                  Matt McManus                                                                 Financial Services                    Incident Response
Matter 0318        Matt McManus                                                                                  Matt McManus                                                                 Healthcare Company                    Investigation
Matter 0319        Matt McManus                                                                                  Matt McManus                                                                 Telecommunication Services            Litigation




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                  EXHIBIT D
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From:                             Cagney, Craig
Sent:                             Wednesday, August 21, 2024 10:58 PM
To:                               'Aaron Craig'; K&S NSO
Cc:                               Mathews, Meenu Ann; fb.nso; Marzorati, Luca; Block, Micah G.
Subject:                          RE: WhatsApp v. NSO: Designation of Experts for HC-AEO Material


Aaron,

Our portion of the letter has not changed other than nits, but we’ve revised the introduction to explain why it is
no longer a joint letter. That new introduction is below. The “note” we will include is this email thread, which
we will file as an exhibit to the declaration that Section 7.4(c) requires. We acknowledge that Defendants may
have more to say and may make a further submission to the Court. Again, we would not proceed this way
except that expert reports are due in less than 10 days, so we feel compelled to seek the Court’s assistance
immediately.

         Plaintiffs WhatsApp LLC and Meta Platforms, Inc. respectfully submit this Letter pursuant to Section 1
         of this Court’s Standing Order Regarding Discovery Disputes, Protective Orders, and ESI
         Orders. Plaintiffs shared a copy of this Letter with counsel for Defendants NSO Group Technologies
         Limited and Q Cyber Technologies Limited (“NSO”) on August 20, 2024, but NSO did not provide a
         position statement by the time of this filing, and indicated it will submit a separate response. Plaintiffs
         have proceeded to file this Letter because they require the Court’s urgent intervention before the August
         30, 2024 deadline for affirmative expert disclosures.

Regards,



Craig Cagney
Davis Polk & Wardwell LLP
+1 212 450 3162 office
+1 646 413 8148 mobile
craig.cagney@davispolk.com


From: Aaron Craig <ACraig@KSLAW.com>
Sent: Thursday, August 22, 2024 12:11 AM
To: Cagney, Craig <craig.cagney@davispolk.com>; K&S NSO <K&SNSO@KSLAW.com>
Cc: Mathews, Meenu Ann <meenu.mathews@davispolk.com>; fb.nso <fb.nso@davispolk.com>; Marzorati, Luca
<luca.marzorati@davispolk.com>; Block, Micah G. <micah.block@davispolk.com>
Subject: RE: WhatsApp v. NSO: Designation of Experts for HC-AEO Material

Craig: For the avoidance of doubt, you do not have our permission to include any “note” from our correspondence
without showing us what you’re going to include – in fact we are directly telling you not to do so.

From: Aaron Craig
Sent: Wednesday, August 21, 2024 9:00 PM
To: Cagney, Craig <craig.cagney@davispolk.com>; K&S NSO <K&SNSO@KSLAW.com>
Cc: Mathews, Meenu Ann <meenu.mathews@davispolk.com>; EXT - fb nso <fb.nso@davispolk.com>; EXT - Luca


                                                          1
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Marzorati <luca.marzorati@davispolk.com>; EXT - Micah Block <micah.block@davispolk.com>
Subject: RE: WhatsApp v. NSO: Designation of Experts for HC-AEO Material

I’m not sure what “note” you’re talking about. If what you are planning to file is different from the version you
previously sent, please send us the new version for our review.

From: Cagney, Craig <craig.cagney@davispolk.com>
Sent: Wednesday, August 21, 2024 8:58 PM
To: Aaron Craig <ACraig@KSLAW.com>; K&S NSO <K&SNSO@KSLAW.com>
Cc: Mathews, Meenu Ann <meenu.mathews@davispolk.com>; EXT - fb nso <fb.nso@davispolk.com>; EXT - Luca
Marzorati <luca.marzorati@davispolk.com>; EXT - Micah Block <micah.block@davispolk.com>
Subject: RE: WhatsApp v. NSO: Designation of Experts for HC-AEO Material

CAUTION: MAIL FROM OUTSIDE THE FIRM
Aaron,

We would be glad to withdraw the joint letter if NSO does decide to withdraw its objection, but without
assurances that it will, we are compelled to file this evening given the time sensitivity. The delay has already
prejudiced Plaintiffs, and if we need the Court’s intervention, we need to begin that process immediately. We
will include your note with our filing so that the court is aware of the circumstances.

We will be sending a letter shortly responding to your August 19 letter on the 30(b)(6) topics, and will propose
times to confer about each party’s notice.

Regards,



Craig Cagney
Davis Polk & Wardwell LLP
+1 212 450 3162 office
+1 646 413 8148 mobile
craig.cagney@davispolk.com


From: Aaron Craig <ACraig@KSLAW.com>
Sent: Wednesday, August 21, 2024 11:20 PM
To: Cagney, Craig <craig.cagney@davispolk.com>; K&S NSO <K&SNSO@KSLAW.com>
Cc: Mathews, Meenu Ann <meenu.mathews@davispolk.com>; fb.nso <fb.nso@davispolk.com>; Marzorati, Luca
<luca.marzorati@davispolk.com>; Block, Micah G. <micah.block@davispolk.com>
Subject: RE: WhatsApp v. NSO: Designation of Experts for HC-AEO Material

Craig: I plan to look at these materials tonight or tomorrow morning, and will make every effort to provide you with our
response, whether it be withdrawal of our objection or our portion of the joint letter, by tomorrow p.m.

On a separate topic, we are available to confer with Plaintiffs about their 30(b)(6) notice of deposition as required by the
Federal Rules, and believe that we should do so this week. When would you be available for such a conference? We
would like to discuss at the same time the issues that have arisen relating to Defendants’ efforts to take the Rule
30(b)(6) depositions of Plaintiffs, including Plaintiffs’ wholesale objections to certain topics, their improper narrowing of
other topics, and the extent to which Mr. Woog and Mr. Gheorghe were not prepared to testify as to certain aspects of
their designation.




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From: Cagney, Craig <craig.cagney@davispolk.com>
Sent: Wednesday, August 21, 2024 3:10 PM
To: Aaron Craig <ACraig@KSLAW.com>; K&S NSO <K&SNSO@KSLAW.com>
Cc: Mathews, Meenu Ann <meenu.mathews@davispolk.com>; EXT - fb nso <fb.nso@davispolk.com>; EXT - Luca
Marzorati <luca.marzorati@davispolk.com>
Subject: RE: WhatsApp v. NSO: Designation of Experts for HC-AEO Material

CAUTION: MAIL FROM OUTSIDE THE FIRM
Aaron,

Our experts reports are due in less than 10 days, and we have been attempting to resolve your meritless
objections since August 1, far longer than the 7 day meet-and-confer period set by the Protective Order. We
are willing to confer this evening if there is a prospect of resolving NSO’s objection, but if NSO will not withdraw
its objections today, we need immediate relief and will be filing this evening. We will incorporate any position
statement from NSO that we receive by 6 PM PST, but otherwise will indicate that we did not receive one in
time for this filing but understand that you intend to file one separately.

As indicated in my email, I am attaching a document that now details the previous engagements for all of the
FTI designees. In addition to the matters listed here, prior to his time at FTI, and while working for Prescient
Global Risk Management & Intelligence Services, Eric Lunser served as an expert witness for Janet Janet and
Suggs LLC, the attorneys representing the Plaintiff in Estate of Karen Marie Goggin, Plaintiff, v. Blythe
Construction Inc., Zachry Construction Corp., Johnson Mirmiran and Thompson Inc., Cowan Systems LLC,
and John Allen Ferguson, Defendants, in the United States District Court, D. South Carolina, Spartanburg
Division. Aside from Mr. Lunser and Mr. Youssef, none of the other FTI designees have previously been
retained as testifying experts in connection with litigation. Let us know if this information resolves any of NSO’s
objections.

Regards,




Craig Cagney
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+1 212 450 3162 office
+1 646 413 8148 mobile
craig.cagney@davispolk.com


From: Aaron Craig <ACraig@KSLAW.com>
Sent: Wednesday, August 21, 2024 2:57 PM
To: Cagney, Craig <craig.cagney@davispolk.com>; K&S NSO <K&SNSO@KSLAW.com>
Cc: Mathews, Meenu Ann <meenu.mathews@davispolk.com>; fb.nso <fb.nso@davispolk.com>; Marzorati, Luca
<luca.marzorati@davispolk.com>
Subject: RE: WhatsApp v. NSO: Designation of Experts for HC-AEO Material

Craig: We’re evaluating your letter. We think it’s outrageous that you would purport to give us a half-day to analyze
and prepare a response to it. We will make every effort to provide you with our response by tomorrow p.m.

If you elect to file this today without our portion, we intend to contact the court to let them know when you first
provided us with your portion of the letter, our ETA for filing our portion, and a chart setting forth each of the discovery
dispute letters we have sent you in the course of this case, their subject matter/examples, and the amount of time we
provided you for a response.


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From: Cagney, Craig <craig.cagney@davispolk.com>
Sent: Tuesday, August 20, 2024 7:03 PM
To: Aaron Craig <ACraig@KSLAW.com>; K&S NSO <K&SNSO@KSLAW.com>
Cc: Mathews, Meenu Ann <meenu.mathews@davispolk.com>; EXT - fb nso <fb.nso@davispolk.com>; EXT - Luca
Marzorati <luca.marzorati@davispolk.com>
Subject: RE: WhatsApp v. NSO: Designation of Experts for HC-AEO Material

CAUTION: MAIL FROM OUTSIDE THE FIRM
Counsel,

Please see Plaintiffs’ portion of a joint letter regarding NSO’s objection to the designation of Plaintiffs’ experts
from FTI. Please provide your portion by noon PT tomorrow. Given the impending expert disclosure deadline,
we intend to file tomorrow even without NSO’s position.

While we don’t agree with your position on Section 7.4(a)(3)(5) with respect to Mr. Youssef’s support staff, we
are working to prepare that information and will provide it as soon as possible. We expect it will overlap
significantly with Mr. Youssef’s prior engagements, and will have the same level of detail as to confidential
matters, which is all that Section 7.4(a)(3)(5) requires. If that will resolve your objection, let us know.

Regards,



Craig Cagney
Davis Polk & Wardwell LLP
+1 212 450 3162 office
+1 646 413 8148 mobile
craig.cagney@davispolk.com


From: Aaron Craig <ACraig@KSLAW.com>
Sent: Monday, August 19, 2024 2:44 PM
To: Cagney, Craig <craig.cagney@davispolk.com>; Mathews, Meenu Ann <meenu.mathews@davispolk.com>; fb.nso
<fb.nso@davispolk.com>; Marzorati, Luca <luca.marzorati@davispolk.com>
Cc: K&S NSO <K&SNSO@KSLAW.com>
Subject: RE: WhatsApp v. NSO: Designation of Experts for HC-AEO Material

Craig: We can do 2:00 pm PDT if that works for you, and I’ll send an invite. In addition to our objection to your experts,
we would like to confer as to your having objected to the majority of our 30(b)(6) deposition topics, and a possible
revision to the deposition schedule.

From: Cagney, Craig <craig.cagney@davispolk.com>
Sent: Monday, August 19, 2024 10:43 AM
To: Aaron Craig <ACraig@KSLAW.com>; Mathews, Meenu Ann <meenu.mathews@davispolk.com>; EXT - fb nso
<fb.nso@davispolk.com>; EXT - Luca Marzorati <luca.marzorati@davispolk.com>
Cc: K&S NSO <K&SNSO@KSLAW.com>
Subject: RE: WhatsApp v. NSO: Designation of Experts for HC-AEO Material

CAUTION: MAIL FROM OUTSIDE THE FIRM
Aaron,



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We’re available after 2pm EST, except from 4-4:30 EST. Please provide the basis for your continued objection
“in detail” as required by Section 7.4(b) of the PO, as well as identifying the other issue you would like to
discuss, so we can prepare accordingly.

Regards,
Craig


Craig Cagney
Davis Polk & Wardwell LLP
+1 212 450 3162 office
+1 646 413 8148 mobile
craig.cagney@davispolk.com


From: Aaron Craig <ACraig@KSLAW.com>
Sent: Monday, August 19, 2024 12:37 AM
To: Mathews, Meenu Ann <meenu.mathews@davispolk.com>; fb.nso <fb.nso@davispolk.com>; Marzorati, Luca
<luca.marzorati@davispolk.com>; Cagney, Craig <craig.cagney@davispolk.com>
Cc: K&S NSO <K&SNSO@KSLAW.com>
Subject: Re: WhatsApp v. NSO: Designation of Experts for HC-AEO Material

Craig, we do not withdraw our objection and can confer with you tomorrow afternoon about it, as well as another issue
that has come to our attention. Please let me know what time.

From: Cagney, Craig <craig.cagney@davispolk.com>
Sent: Sunday, August 18, 2024 9:33:40 PM
To: Aaron Craig <ACraig@KSLAW.com>; Mathews, Meenu Ann <meenu.mathews@davispolk.com>; EXT - fb nso
<fb.nso@davispolk.com>; EXT - Luca Marzorati <luca.marzorati@davispolk.com>
Cc: K&S NSO <K&SNSO@KSLAW.com>
Subject: RE: WhatsApp v. NSO: Designation of Experts for HC-AEO Material

CAUTION: MAIL FROM OUTSIDE THE FIRM
Counsel,

We provided information last Monday that resolves NSO’s previously stated objection to Plaintiffs’ designation
of Mr. Youssef, Mr. McManus, Ms. Williams, Mr. Nobles, and Mr. Arden as Experts. Despite our follow-ups,
you have not indicated whether NSO has any continuing objection, or what the basis for such objection would
be. As we have previously notified you, NSO’s delay is prejudicing Plaintiffs’ ability to complete its expert
reports by the August 30 deadline for expert disclosures. Unless we hear anything further by noon PST
tomorrow, we will assume NSO has withdrawn its objection and will proceed to share the HC-AEO material
indicated below with Mr. Youssef, Mr. McManus, Ms. Williams, Mr. Nobles, and Mr. Arden.

Regards,

Craig Cagney
Davis Polk & Wardwell LLP
+1 212 450 3162 office
+1 646 413 8148 mobile
craig.cagney@davispolk.com


From: Cagney, Craig <craig.cagney@davispolk.com>
Sent: Thursday, August 15, 2024 1:06 AM
To: 'Aaron Craig' <ACraig@KSLAW.com>; Mathews, Meenu Ann <meenu.mathews@davispolk.com>; fb.nso
<fb.nso@davispolk.com>; Marzorati, Luca <luca.marzorati@davispolk.com>
                                                          5
             Case 4:19-cv-07123-PJH            Document 366-2          Filed 08/21/24      Page 20 of 27
Cc: 'K&S NSO' <K&SNSO@KSLAW.com>
Subject: RE: WhatsApp v. NSO: Designation of Experts for HC-AEO Material

Aaron,

Please let us know if the materials sent on Tuesday resolve NSO’s objection, or else the basis for NSO’s
continued objection to Mr. Youssef, Mr. McManus, Ms. Williams, Mr. Nobles, and Mr. Arden.

Regards,
Craig

Craig Cagney
Davis Polk & Wardwell LLP
+1 212 450 3162 office
+1 646 413 8148 mobile
craig.cagney@davispolk.com


From: Cagney, Craig
Sent: Tuesday, August 13, 2024 12:02 AM
To: 'Aaron Craig' <ACraig@KSLAW.com>; Mathews, Meenu Ann <meenu.mathews@davispolk.com>; fb.nso
<fb.nso@davispolk.com>; Marzorati, Luca <luca.marzorati@davispolk.com>
Cc: K&S NSO <K&SNSO@KSLAW.com>
Subject: RE: WhatsApp v. NSO: Designation of Experts for HC-AEO Material

Confirming receipt.

Craig Cagney
Davis Polk & Wardwell LLP
+1 212 450 3162 office
+1 646 413 8148 mobile
craig.cagney@davispolk.com


From: Aaron Craig <ACraig@KSLAW.com>
Sent: Monday, August 12, 2024 8:43 PM
To: Mathews, Meenu Ann <meenu.mathews@davispolk.com>; fb.nso <fb.nso@davispolk.com>; Marzorati, Luca
<luca.marzorati@davispolk.com>
Cc: K&S NSO <K&SNSO@KSLAW.com>
Subject: Re: WhatsApp v. NSO: Designation of Experts for HC-AEO Material

We will take a look. Please confirm receipt of the discovery originally sent by Mina Tunson.

From: Marzorati, Luca <luca.marzorati@davispolk.com>
Sent: Monday, August 12, 2024 5:36:05 PM
To: Mathews, Meenu Ann <meenu.mathews@davispolk.com>; Aaron Craig <ACraig@KSLAW.com>; EXT - fb nso
<fb.nso@davispolk.com>
Cc: K&S NSO <K&SNSO@KSLAW.com>
Subject: RE: WhatsApp v. NSO: Designation of Experts for HC-AEO Material

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Aaron,

As discussed, please see attached for a description of the entities that have provided compensation for Mr.
Yousef’s areas of expertise, including in connection with litigation.

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Please let us know if this resolves your objection. If not, please let us know when you are available to confer.

Thanks,
Luca
Luca Marzorati
+1 212 450 3660 office
+1 718 304 6950 mobile
luca.marzorati@davispolk.com


Davis Polk & Wardwell LLP
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From: Mathews, Meenu Ann <meenu.mathews@davispolk.com>
Sent: Friday, August 9, 2024 7:03 AM
To: Aaron Craig <ACraig@KSLAW.com>; fb.nso <fb.nso@davispolk.com>
Cc: K&S NSO <K&SNSO@KSLAW.com>
Subject: RE: WhatsApp v. NSO: Designation of Experts for HC-AEO Material

Aaron,

Please explain the basis for your continued objection, and your availability tomorrow or Monday to confer. If
we cannot resolve the objection, we need to present the dispute to the Court immediately in light of the August
30 deadline for expert disclosures, unless you are willing to agree to adjourn Plaintiffs’ deadline.

Best,
Meenu

Meenu Ann Mathews
Law Clerk
Davis Polk & Wardwell LLP
+1 212 450 3441 office
+1 646 830 4961 mobile
meenu.mathews@davispolk.com


From: Aaron Craig <ACraig@KSLAW.com>
Sent: Thursday, August 8, 2024 7:20 PM
To: Mathews, Meenu Ann <meenu.mathews@davispolk.com>; fb.nso <fb.nso@davispolk.com>
Cc: K&S NSO <K&SNSO@KSLAW.com>
Subject: RE: WhatsApp v. NSO: Designation of Experts for HC-AEO Material

Meenu: We maintain our objections to your providing any of Defendants’ confidential material to David Youssef, Matt
McManus, Gabe Nobles, George Arden and Matteson Williams. I will let you know when we are available to confer. We
have several other discovery issues ahead of this in the queue about which we have sent joint discovery dispute letters
this week.

We will respond to your designation of Mr. Lunser and Mr. Best after we evaluate it.

From: Mathews, Meenu Ann <meenu.mathews@davispolk.com>
Sent: Thursday, August 8, 2024 7:31 AM
To: Aaron Craig <ACraig@KSLAW.com>; EXT - fb nso <fb.nso@davispolk.com>
                                                                                       7
             Case 4:19-cv-07123-PJH          Document 366-2        Filed 08/21/24     Page 22 of 27
Cc: K&S NSO <K&SNSO@KSLAW.com>
Subject: RE: WhatsApp v. NSO: Designation of Experts for HC-AEO Material

CAUTION: MAIL FROM OUTSIDE THE FIRM
Aaron,

Mr. Youssef was retained by Pearson Education in Collins v. Pearson Education, Inc., 1:23-cv-02219
(S.D.N.Y.) and Google in Google LLC v. Saeed, 23-cv-03369 (S.D.N.Y.). Please see attached for a
description of the entities that have provided compensation for Mr. Yousef’s areas of expertise, including in
connection with litigation. Mr. McManus, Ms. Williams, Mr. Nobles, and Mr. Arden have not been retained as
expert witnesses in connection with any litigation.

Below are the cities and states of residence of each expert:
   1. David Youssef (New York, NY)
   2. Matt McManus (New York, NY)
   3. Gabe Nobles (Reston, VA)
   4. George Arden (New York, NY)
   5. Matteson Williams (Washington, DC)

We note that the revised descriptions provide the same level of detail as the disclosures for NSO’s
experts. We trust that these revised disclosures now resolve NSO’s objection. Please let us know by the end
of the day whether NSO withdraws its objection, or else when you are available to confer.

Finally, pursuant to Section 7.4(a)(3) of the Stipulated Protective Order (Dkt. No. 132), Plaintiffs hereby provide
notice of their designation of Eric Lunser and Jared Best as Experts authorized to receive discovery designated
in this case as “HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY” or “HIGHLY CONFIDENTIAL –
SOURCE CODE.”

This request encompasses discovery from any Designating Party that King & Spalding represents in
connection with discovery in this matter, including without limitation the following:

    1.   NSO Group Technologies Limited
    2.   Q Cyber Technologies Limited
    3.   Westbridge Technologies, Inc.
    4.   Compass Stratagem, LLC
    5.   Omri Lavie
    6.   Josh Shaner
    7.   Terrence DiVittorio

A copy of the Experts’ CV and signed copies of the Experts’ “Acknowledgment and Agreement to be Bound”
(Exhibit A) are attached hereto. The general categories of information that Plaintiffs seek to disclose to the
Experts are documents and communications reflecting the operation, capabilities, design, installation,
maintenance, and use of Defendants’ spyware. Pursuant to Section 7.3(d)(1) of the Stipulated Protective
Order, disclosure to the above-referenced Experts is reasonably necessary for this litigation because they
possess the technical expertise necessary to assist counsel in providing advice to Plaintiffs about these
materials. Mr. Lunser resides in Westtown, NY and Mr. Best resides in Arlington, VA. Neither Mr. Lunser or
Mr. Best have been retained as experts in connection with litigation.

Best,
Meenu

Meenu Ann Mathews
Law Clerk
Davis Polk & Wardwell LLP

                                                         8
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+1 212 450 3441 office
+1 646 830 4961 mobile
meenu.mathews@davispolk.com


From: Aaron Craig <ACraig@KSLAW.com>
Sent: Thursday, August 1, 2024 9:41 PM
To: fb.nso <fb.nso@davispolk.com>
Cc: K&S NSO <K&SNSO@KSLAW.com>
Subject: FW: WhatsApp v. NSO: Designation of Experts for HC-AEO Material

Luca,

Pursuant to Section 7.4(b) of the Stipulated Protective Order (the “Protective Order”) (Dkt. No. 132), Defendants object
to Plaintiffs’ request to disclose discovery designated in this case as “HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY”
or “HIGHLY CONFIDENTIAL – SOURCE CODE” to David Youssef, Matthew McManus, Matteson Williams, Gabe Nobles,
and George J. Arden III as proposed Experts.

Plaintiffs’ request fails to comply with Section 7.4(a)(3) of the Protective Order, as it fails to identify “each person or
entity from whom the Expert has received compensation or funding for work in his or her areas of expertise or to whom
the Expert has provided professional services, including in connection with a litigation, at any time during the preceding
five years and the party to the litigation for whom such work was done.” Protective Order, Section 7.4(a)(3)(5). Indeed,
with respect to Mr. Youssef, Plaintiffs fail to identify any persons or entities to whom he has provided professional
services, including in connection with litigation, at any time during the preceding five years and the party to the litigation
for whom the work was done. Mr. Youssef provides only “summaries” of matters that Plaintiffs unilaterally contend are
“pertinent,” all of which fail to identify the persons or entities to whom Mr. Youssef provided services or from whom he
received compensation or funding. Plaintiffs’ request also fails to indicate the persons or entities engaging Mr. Youssef
in his two listed litigation matters. The CVs of the remaining proposed Experts similarly fail to provide the information
required by Section 7.4(a)(3)(5) of the Protective Order. Further, although the CV for Mr. McManus references his
provision of expert testimony, neither his CV nor anything in Plaintiffs’ request identifies any matters in which he has
provided such expert testimony or the parties having engaged him, as required by Section 7.4(a)(3)(5) and Section
7.4(a)(3)(6) of the Protective Order.

In addition, Plaintiffs have failed to identify the cities and states of the proposed Experts’ primary residences (instead
providing only what appear to be business addresses) and to demonstrate that disclosure to these proposed Experts is
reasonably necessary to the litigation and adequately protects Defendants’ interests in the materials at issue.

We therefore object.



From: Marzorati, Luca <luca.marzorati@davispolk.com>
Sent: Friday, July 19, 2024 12:37 PM
To: Joe Akrotirianakis <JAkro@KSLAW.com>; Aaron Craig <ACraig@KSLAW.com>
Cc: fb.nso <fb.nso@davispolk.com>; K&S NSO <K&SNSO@KSLAW.com>
Subject: WhatsApp v. NSO: Designation of Experts for HC-AEO Material

CAUTION: MAIL FROM OUTSIDE THE FIRM
Counsel,

Pursuant to Section 7.4(a)(3) of the Stipulated Protective Order (Dkt. No. 132), Plaintiffs hereby provide notice
of their designation of David Youssef, Matthew McManus, Matteson Williams, Gabe Nobles, and George J.
Arden III as Experts authorized to receive discovery designated in this case as “HIGHLY CONFIDENTIAL –
ATTORNEYS’ EYES ONLY” or “HIGHLY CONFIDENTIAL – SOURCE CODE.”

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This request encompasses discovery from any Designating Party that King & Spalding represents in
connection with discovery in this matter, including without limitation the following:

   -      NSO Group Technologies Limited
   -      Q Cyber Technologies Limited
   -      Westbridge Technologies, Inc.
   -      Compass Stratagem, LLC
   -      Omri Lavie
   -      Josh Shaner
   -      Terrence DiVittorio

A copy of the Experts’ CV and signed copies of the Experts’ “Acknowledgment and Agreement to be Bound”
(Exhibit A) are attached hereto. The general categories of information that Plaintiffs seek to disclose to the
Experts are documents and communications reflecting the operation, capabilities, design, installation,
maintenance, and use of Defendants’ spyware. Pursuant to Section 7.3(d)(1) of the Stipulated Protective
Order, disclosure to the above-referenced Experts is reasonably necessary for this litigation because they
possesses the technical expertise necessary to assist counsel in providing advice to Plaintiffs about these
materials.

Since his tenure with FTI Consulting began in 2017, Mr. Youssef has provided professional services to at least
166 unique client matters. The majority of these matters are related to incident response, digital forensics, and
complex investigations. Below are summaries of pertinent matters and matters related to providing litigation
support in the past five years, to which Mr. Youssef provided professional services:

                     Litigation support matter defending a health and wellness company against an MSP
                      hired for outsourced IT services. The healthcare company (Client) was hit with
                      ransomware. Client did not believe the MSP was meeting the contractual terms and
                      stopped paying. The MSP is suing Sharecare for not paying, but Sharecare is now
                      countersuing claiming the MSP didn’t meet proper IT protocols or security controls to
                      prevent damage from the incident. As a result, the Client incurred more damage from the
                      incident.
                     Text message and email analysis in relation to ongoing litigation.
                     Data breach investigation.
                     A financial services company experienced several cybersecurity incidents over a six-
                      year span. FTI Consulting was engaged to act as an independent cybersecurity expert
                      witness. We analyzed the opposing expert's report, which was over 800 pages long, and
                      was based on almost 1,000 pieces of underlying evidence. We analyzed this report and
                      provided our findings in an expert report which critiqued the appropriateness of the
                      alleged cybersecurity baseline.
                     Corporate espionage and theft of trade secrets.
                     FTI Cybersecurity was retained by a major technology company to investigate a “pay-
                      per-install” (“PPI”) service believed to be associated with the distribution of malware. The
                      aim of the investigation was to disrupt the Cryptbot infostealer by taking down a major
                      distribution arm and disabling Command and Control (C2) infrastructure. FTI
                      Cybersecurity’s primary efforts focused on gathering evidence to identify infrastructure
                      that was currently or historically used in connection with this malware family. We
                      provided an expert witness report based on our findings.
                     FTI Cybersecurity was retained to provide expert services. Our report explained the
                      cybersecurity risks posted to banks and their customers, and the procedures that banks
                      implement to mitigate such risk. Our expert analyzed the cyber fraud schemes at issue
                      in the matter and opined on the adherence to reasonable cybersecurity procedures in
                      processing wires.
                     Investigation of data exfiltration; Expert report; Search for possible PII exposure.
                     Complex Cybersecurity Investigation; Litigation matter.
                     Complex Cybersecurity Investigation; Litigation matter.
                     Support related to litigation; imaging/preservation of data from client web application.
                                                        10
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                                  Complex Cybersecurity Investigation; Litigation matter.
                                  Post-acquisition dispute.
                                  Complex Cybersecurity Investigation; Litigation matter.
                                  Complex Cybersecurity Investigation; Litigation matter.
                                  Conduct root cause analyses on potential data breach and provide an expert witness
                                   report in relation to civil litigation (Professional Malpractice).

Mr. Youssef has offered testimony in Collins v. Pearson Education, Inc., 1:23-cv-02219 (S.D.N.Y.) and Google
LLC v. Saeed, 23-cv-03369 (S.D.N.Y.). The CVs of Mr. McManus, Ms. Williams, Mr. Nobles, and Mr. Arden III
contain all of the additional information required by subsections (2) through (6).

Thanks,
Luca
Luca Marzorati
+1 212 450 3660 office
+1 718 304 6950 mobile
luca.marzorati@davispolk.com


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            EXHIBIT FILED UNDER SEAL
